Case 18-00103-ABA   Doc 5   Filed 03/05/18 Entered 03/05/18 19:30:58   Desc Main
                            Document      Page 1 of 5
Case 18-00103-ABA   Doc 5   Filed 03/05/18 Entered 03/05/18 19:30:58   Desc Main
                            Document      Page 2 of 5
Case 18-00103-ABA   Doc 5   Filed 03/05/18 Entered 03/05/18 19:30:58   Desc Main
                            Document      Page 3 of 5
Case 18-00103-ABA   Doc 5   Filed 03/05/18 Entered 03/05/18 19:30:58   Desc Main
                            Document      Page 4 of 5
Case 18-00103-ABA   Doc 5   Filed 03/05/18 Entered 03/05/18 19:30:58   Desc Main
                            Document      Page 5 of 5
